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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS

IN RE:                                   §
                                         §      Bankruptcy Case No. 25-30155
ALLIANCE FARM AND RANCH, LLC             §

                              NOTICE OF HEARING

      Please TAKE NOTICE that Creditor’s Motion to Dismiss (Doc. 7) is scheduled for

a hearing in Courtroom 400 at: 2:00 PM on Wednesday, April 9, 2025.




                                      Respectfully submitted,

                                      IRELAN MCDANIEL, PLLC

                                           /s/ Noah Meek
                                      By:______________________________
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                                      ATTORNEYS FOR CREDITOR
                                      DUSTIN ETTER




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                              CERTIFICATE OF SERVICE

      This is to certify that on March 17, 2025, a true and correct copy of this instrument
was served upon all parties VIA the Court’s CM/ECF System and VIA US Mail in
compliance with the Federal Rules of Bankruptcy Procedure.

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                                                    /s/ Noah Meek
                                                   _____________________________
                                                   Noah Meek




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